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         7.       In the prior review, the debtor"s unpaid balance on the property would have increased from

                  $487,935.34 to $868,951.78. The Secured Creditor further reviewed this file in several ways:

                         -Attempted to forbear $260,685.53 leaving an interest bearing principal of $608,266.25

                  which did not result in an approval.

                        -Attempted to lower the interest rate from 7.950% to 4.875% which did not result in an

                  approval.

         8.       The recent review resulted in a denial for insufficient monthly payment reduction as the

                  principal and interest would have increased from $3,232.57 to $4,247.57. The review is not

                  based on income.

         9.       For the reasons set fo11h above, the Secured Creditor respectfully submits that the Debtor's

                  request for loss mitigation in relation to the Real Prope11y commonly known as 78 Ormonde

                  Boulevard, Valley Stream, NY 11580 be denied.




       WHEREFORE, the Secured Creditor respectfully requests that the Honorable Court deny the

Debtor's request to enter into court-supervised loss mitigation efforts in relation to the Real Property

commonly known as 78 Ormonde Boulevard, Valley Stream, NY 11580.



 DATED:       April 10, 2019
              Westbury, NY



                                                            By



                                                                    Attorneys for Secured Creditor
                                                                    Office and Post Address:
                                                                    900 Merchants Concourse, Suite 412
                                                                    Westbury, NY 11590
                                                                    Telephone 716-253-6200
